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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK, et al.,

       Plaintiffs,
       v.                                    Civil Action No. 1:25-cv-39 (JJM)
 DONALD TRUMP, IN HIS OFFICIAL
 CAPACITY AS PRESIDENT OF THE
 UNITED STATES, et al.,

                     Defendants.

   DEFENDANTS’ EMERGENCY MOTION FOR A RULING BY 11 A.M. ON
        FEBRUARY 12, 2025, FOR PERMISSION TO CONTINUE
           WITHHOLDING FEMA AND OTHER FUNDING

       On January 31, 2025, this Court entered a Temporary Restraining Order

 (TRO) that provided certain relief against the temporary pause of funding

 announced in OMB Memorandum M-25-13, but still allowed Defendants to pause

 funding “on the basis of the applicable authorizing statutes, regulations, and

 terms,” provided they “comply with all notice and procedural requirements in the

 award, agreement, or other instrument relating to decisions to stop, delay, or

 otherwise withhold federal financial assistance programs.” ECF No. 50 at 12.

       On February 10, 2025, this Court granted Plaintiffs’ Motion to Enforce the

 TRO, and issued a further Order directing, among other things, that “Defendants

 must immediately restore frozen funding during the pendency of the TRO” and

 “Defendants must immediately end any federal funding pause during the pendency

 of the TRO.” ECF No. 96 at 4 ¶¶ 1-2. The Court’s Order stated that its initial TRO

 “prohibits all categorical pauses or freezes in obligations or disbursements based on
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 the OMB Directive or based on the President’s 2025 Executive Orders.” Id. at 3.

 The Court’s Order also stated, however, that “[i]n response to the Defendants’

 arguments, they can request targeted relief from the TRO from this Court where

 they can show a specific instance where they are acting in compliance with this

 Order but otherwise withholding funds due to specific authority.” Id. at 3-4.

 Defendants have now appealed those Orders, see ECF No. 98, and sought relief from

 the United States Court of Appeals for the First Circuit.

        In recognition of the Court’s February 10 Order, which threatened the

 Defendants with criminal contempt should they violate the plain language of the

 Court’s orders, Defendants respectfully submit this emergency motion requesting a

 ruling no later than 11:00 A.M. on February 12, 2025, to address the court of

 appeals’ expectation that “the District Court will act with dispatch to provide any

 clarification needed with respect to, among other things, the defendants’ contention

 that the February 10 Order ‘bars both the President and much of the Federal

 Government from exercising their own lawful authorities to withhold funding

 without the prior approval of the district court,’” and in light of the plaintiffs’

 position that the February 10 Order “does not stop defendants from limiting access

 to funds without any ‘preclearance’ from the district court ‘on the basis of the

 applicable authorizing statutes, regulations, and terms.’” Order, No. 25-1138

 (Feb. 11, 2025) at 2. Defendants also respectfully request confirmation that

 Defendants may permissibly withhold certain FEMA funding, i.e., as “a specific

 instance where they are acting in compliance with this Order but otherwise




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 withholding funds due to specific authority.” ECF No. 96 at 4. Defendants have

 identified this FEMA funding as one (of potentially many) sources of funding that,

 depending on the intended scope of the Court’s Order, may require “targeted relief”

 from the Court’s Order, id., or may be outside the scope of the Court’s Order

 altogether.

       The relevant facts regarding the FEMA funding are set forth in the attached

 declaration from Cameron Hamilton, the Senior Official Performing the Duties of

 the Administrator, Department of Homeland Security, Federal Emergency

 Management Agency. In short, FEMA seeks to withhold Shelter and Services

 Program (SSP) funding based on concerns regarding the program. See FEMA

 Hamilton Decl. ¶¶ 6-13.

       Defendants respectfully request, by 11:00 A.M. on February 12, any needed

 clarification “with respect to, among other things, the defendants’ contention that

 the February 10 Order ‘bars both the President and much of the Federal

 Government from exercising their own lawful authorities to withhold funding

 without the prior approval of the district court,’” 1st Cir. Order of Feb. 11, 2025 at 2,

 to the extent the Court did not intend its Orders to require preclearance or prohibit

 withholding of payment based on concerns about grantee compliance with grant

 terms and conditions. Defendants also respectfully request that the Court provide

 “targeted relief” from its Orders, confirming that FEMA may continue “withholding

 funds due to specific authority,” as described in the attached declaration.

 Defendants also respectfully request clarification, to the extent the Court did not




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 intend its Orders to prohibit withholding of payment based on concerns about

 grantee compliance with grant terms and conditions.



  Dated: February 11, 2025             Respectfully Submitted,

                                       BRETT A. SHUMATE
                                       Acting Assistant Attorney General

                                       ALEXANDER K. HAAS
                                       Director

                                       /s/ Daniel Schwei
                                       DANIEL SCHWEI
                                       Special Counsel
                                       ANDREW F. FREIDAH
                                       EITAN R. SIRKOVICH
                                       Trial Attorneys
                                       United States Department of Justice
                                       Civil Division, Federal Programs Branch
                                       1100 L Street NW
                                       Washington, DC 20530
                                       Tel.: (202) 305-8693
                                       Fax: (202) 616-8460
                                       Email: daniel.s.schwei@usdoj.gov

                                       Counsel for Defendants




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                         CERTIFICATION OF SERVICE

        I hereby certify that on February 11, 2025, I electronically filed the within
 Certification with the Clerk of the United States District Court for the District of
 Rhode Island using the CM/ECF System, thereby serving it on all registered users in
 accordance with Federal Rule of Civil Procedure 5(b)(2)(E) and Local Rule Gen 305.

                                        /s/ Daniel Schwei
                                        DANIEL SCHWEI




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